     Case 2:22-cv-00068-SMB Document 17-1 Filed 06/10/22 Page 1 of 1



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 6                       IN THE UNITED STATES DISTRICT COURT
 7                             FOR THE DISTRICT OF ARIZONA
 8   Trevor Reid, et al.,                                No. CV-22-00068-PHX-SMB
 9                       Plaintiffs
10                v.                                        [PROPOSED] ORDER

11   United States Department of Interior, et al.,
12                    Defendants.

13          The Court having reviewed Substituted Defendant United States of America’s
14   Motion to Consolidate and Extend the Responsive Pleading Deadline (First Request to
15   Extend) (Doc. ___), and good cause appearing, the motion is GRANTED. The United
16   States’ and individual defendants’ (Justin P. Doyle, David Ballam, and Cynthia Sirk-Fear)
17   responsive pleading deadline is hereby consolidated and extended to sixty (60) days after
18   proper service of process has been made on the individual defendants collectively.
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